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MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT

SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

 

 

 

 

 

United States District Court [District | SOUTHERN DISTRICT OF FLORIDA
Name (under which you were convicted): Docket or Case No.:
THOMAS KEELAN 12-CR-20496-MARTINEZ
Place of Confinement: Prisoner No.:
98219-004
UNITED STATES OF AMERICA Movant (include name under which convicted)
V.

THOMAS PATRICK KEELAN

 

 

 

MOTION

1. (a) Name and location of court which entered the judgment of conviction you are challenging:

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
400 NORTH MIAMI AVE., MIAMI, FLORIDA 33128

 

(b) Criminal docket or case number (if you know): _12-CR-20496-MARTINEZ

 

2. (a) Date of the judgment of conviction (if you know): _ 4/15/2013
(b) Date of sentencing: _ 4/11/2013

 

 

3. Length of sentence: 200 MONTHS

 

4. Nature of crime (all counts):

COUNT ONE:
COERCION OR ENTICEMENT OF A MINOR TO ENGAGE IN SEXUAL ACTIVITY (18 U.S.C. 2422(b))

COUNT TWO:
COERCION OR ENTICEMENT OF A MINOR TO ENGAGE IN SEXUAL ACTIVITY (18 U.S.C. 2422(b))

 

5. (a) What was your plea? (Check one)
(1) Not guilty (2) Guilty (3) Nolo contendere (no contest)

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
what did you plead guilty to and what did you plead not guilty to?

 

N/A
6. Ifyou went to trial, what kind of trial did you have? (Check one) Jury Judge only
7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [| No

8. Did you appeal from the judgment of conviction? Yes No
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If you did appeal, answer the following:

(a) Name of court: UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT
(b) Docket or case number (if you know): 13-11878-F

(c) Result: AFFIRMED.

(d) Date of result (if you know): _ 9/2/2015

(e) Citation to the case (if you know): _ UNITED STATES V. KEELAN, 786 F.3D 865 (11TH CIR. 2015)
(f) Grounds raised:

 

|. The court’s erroneous denial of Mr. Keelan’s Second Motion in Limine was an abuse of discretion warranting
reversal; Il. The court abused its discretion by erroneously permitting the government to use a summary witness
as its first witness and by having its expert witness testify beyond the specific area of her expertise; ill. The court
committed reversible error by denying Mr. Keelan’s sealed motion to introduce evidence of J.S.’s consensual
sexual activity with other males of the same age and demographic background as Mr. Keelan; IV. The court
erred in ordering payment of restitution pursuant to the Mandatory Victim Restitution Act, where the offenses of
conviction are not “crimes of violence” under 18 U.S.C. Sec. 16(b).

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes No
If “Yes,” answer the following:
(1) Docket or case number (if you know): 15-7100
(2) Result: WRIT OF CERTIORARI DENIED.

 

(3) Date of result (if you know): 1/12/2016
(4) Citation to the case (if you know):
(5) Grounds raised:

 

THE ELEVENTH CIRCUIT ERRED IN RELYING UPON PRECEDENTS DETERMINING WHAT
CONSTITUTED A CRIME OF VIOLENCE UNDER U.S.S.G. SECTION 4B1.2(a)(2).

 

Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?

Yes No

  

 

If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:

 

(2) Docket or case number (if you know):
(3) Date of filing (if you know):

 

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 
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12.

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes No

(7) Result:
(8) Date of result (if you know):

 

 

(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:

 

(2) Docket of case number (if you know):
(3) Date of filing (if you know):

(4) Nature of the proceeding:

(5) Grounds raised:

 

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes No

(7) Result:
(8) Date of result (if you know):

 

 

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

or application?

(1) First petition: Yes [| No
(2) Second petition: Yes [| No

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.
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GROUND ONE: Petitioner's trial counsel was constitutionally ineffective for failing to make a reasonable investigation
into the alleged victim's mental state and/or to present such evidence at trial.

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

SEE THE ATTACHED.

 

(b) Direct Appeal of Ground One:

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

IT IS AN ISSUE THAT !S PROPERLY RAISED IN A 2255.

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes No
(2) If you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes No

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes No
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(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND TWO: Petitioner's trial counsel was constitutionally ineffective for failing to object to the Government's
introduction of evidérice which amounted to a constructive amendment of the Indictment.

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

SEE THE ATTACHED.

 

(b) Direct Appeal of Ground Two:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

IT IS AN ISSUE THAT IS PROPERLY RAISED IN A 2255.

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes No
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(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

 

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [ | No

(4) Did you appeal from the denial of your motion, petition, or application?

Yes No

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND THREE: Petitioner's trial counsel was constitutionally ineffective for failing to object to legally incorrect jury

 

instructions with respect to Count Zz.

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

SEE THE ATTACHED.

 
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(b) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes No
(2) Ifyou did not raise this issue in your direct appeal, explain why:
IT 1S AN ISSUE THAT IS PROPERLY RAISED IN A 2255.

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes No
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes No [|

(4) Did you appeal from the denial of your motion, petition, or application?
Yes No

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes [_] No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 
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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND FOUR: The Goverment violated Petitioner's Due Process rights by withholding material exculpatory

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

SEE THE ATTACHED.

 

(b) Direct Appeal of Ground Four:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

IT IS AN ISSUE THAT IS PROPERLY RAISED IN A 2255.

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes No

(2) If you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 
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13.

14.

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [ | No [|

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes No [|

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

 

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes No
If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 
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15.

16.

17.

18.

Give the name and address, if known, of each attorney who represented you in the following stages of the
you are challenging:

(a) At the preliminary hearing:

SAMUEL RANDALL, 201 SOUTH BISCAYNE BLVD., STE. 1100, MIAMI, FL 33131

 

(b) At the arraignment and plea:
SAMUEL RANDALL, 201 SOUTH BISCAYNE BLVD., STE. 1100, MIAMI, FL 33131

 

(c) At the trial:
SAMUEL RANDALL, 201 SOUTH BISCAYNE BLVD., STE. 1100, MIAMI, FL 33131/ ABIGAIL BECKER, ESQ.

 

(d) At sentencing:
SAMUEL RANDALL, 201 SOUTH BISCAYNE BLVD., STE. 1100, MIAMI, FL 33131/ABIGAIL BECKER, ESQ.

 

(e) On appeal:
PAUL PETRUZZI, 169 E FLAGLER ST., STE. 1241, MIAMI, FL 33131

 

(f) In any post-conviction proceeding:
PAUL PETRUZZI, 169 E. FLAGLER ST., STE. 1241, MIAMI, FL 33131

 

(g) On appeal from any ruling against you in a post-conviction proceeding:

 

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
and at the same time? Yes No

Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes No

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

 

(b) Give the date the other sentence was imposed:

 

(c) Give the length of the other sentence:

 

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [| No

TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

 
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* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.
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Therefore, movant asks that the Court grant the following relief:

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VACATE PETITIONER'S CONVICTION AND SENTENCE

or any other relief to which movant may be entitled.

 

 

Si gnaturg-oPAllorney {if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on

Executed (signed) on / |: z /; F

 

(month, date, year)

(date)

Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

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jo fo CF UGTOEY .

povant
